                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

CHARLES W. COOPER,                              )
                                                )
                 Plaintiff,                     )
                                                )
                 vs.                            ) Cause No.: 1:17-cv-2467 JMS MJD
                                                )
CITY OF INDIANAPOLIS,                           )
OFFICER GREGORY DAVIS,                          )
                                                )
                 Defendants.                    )

             PLAINTIFF’S PRELIMINARY WITNESS AND EXHIBIT LISTS

   Comes now Plaintiff, Charles W. Cooper, by counsel, and files his Preliminary Witness and

Exhibit Lists:

                                              WITNESSES

       1. Plaintiff, Charles W. Cooper

       2. Defendant, Gregory Davis

       3. Sergent Craig Hedden, Indianapolis Metropolitan Police Department

       4. Currently unidentified employees of Defendant, City of Indianapolis

       5. Any and all medical providers of Plaintiff, Charles W. Cooper, including but not

           limited to:

                 a. Troy Puckett, Amy Cope, Indianapolis EMS, 3930 Georgetown Road,

                       Indianapolis, Indiana 46254

                 b. Dr. Erik Fossum, Joshua J. Armbruster, Megan Wesler, Community East

                       Hospital, 1500 N. Ritter Avenue, Indianapolis, IN 46219

       6. Any person necessary to authenticate any documents or lay proper foundations for the

           admission of any evidence.
7. Any expert witness who may be obtained by the Plaintiff prior to trial.

8. Any person identified in any discovery response, including interrogatory answers,

   responses to requests for production, responses to requests for admissions,

   depositions, statements or correspondence.

9. Any person deposed or yet to be deposed in this matter.

10. Any person listed on any witness list filed by any party to this matter and any and all

   witnesses called by other by other parties in this case.

11. The Plaintiff specifically reserves the right to call as additional witnesses those

   persons who may be necessary as rebuttal witnesses.

12. Any other person who may come to the attention of the Plaintiff subsequent to the

   filing of this witness list and prior to the trial herein, which person will be promptly

   disclosed to the Defendants.

13. Any witness needed for rebuttal or impeachment purposes.

14. Any and all individuals identified by Defendants in their initial disclosures.

15. Plaintiff reserves the right to amend this disclosure as discovery progresses.

                                     EXHIBITS

1. All medical bills and records of the treating physicians and hospitals of Plaintiff,
   Charles W. Cooper including x-rays, MRI’s, CT scans or other tests performed.

2. Any and all incident and/or accident reports.

3. Any and all reports from the treating physicians of Plaintiffs, Charles W. Cooper.

4. Any and all treating physicians or experts’ Curriculum Vitae.

5. Demonstrative or illustrative models and diagrams of the incident scene.

6. Any and all pleadings filed in this case.

7. Any and all documents produced as a result of discovery.
8. Any and all depositions taken in this case and all exhibits thereto.

9. Any exhibits listed by the other parties in the case.

10. Mortality Tables.

11. Any and all documents or records relied upon by any expert witness.

12. Any evidence, documents or exhibits which may come to the attention of the
    Plaintiffs after the filing of this Exhibit List and prior to the trial, which evidence,
    documents or exhibits will be promptly disclosed to the Defendants.

13. Any evidence necessary to impeach witnesses or which evidence may come to the
    attention of the Plaintiffs after considering testimony at the trial.

14. Any statements produced in this matter.

15. Summary of Medical Expenses.

16. Photographs of the incident scene or of the Plaintiff.

17. Any videotapes or surveillance video of the scene of the incident.

18. Any and all documents contained in the Indianapolis Metropolitan Police
    Department’s internal investigation

19. Any and all evidence recovered from the scene of the July 28, 2015 incident.

20. Any and all policies, procedures, and protocols of the Indianapolis Metropolitan
    Police Department regarding the use of force and use of K9 units.

21. Documentation showing Plaintiff’s reasonable attorney’s fees incurred in pursuit of
    this matter.
                                    Respectfully submitted,


                                        /s/Christopher D. Wyant
                                        Christopher D. Wyant, (25886-29)
                                        Attorney for Plaintiff, Charles Cooper
                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of foregoing document was served upon the

following via the Court’s electronic filing system on November 9, 2017.


Thomas J.O. Moore
OFFICE OF CORPORATION COUNSEL
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Indianapolis, Indiana 46204

Norman L. Reed
608 East Market Street
Indianapolis, IN 46202

                                            /s/ Christopher D. Wyant



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